     Case 2:13-cr-00096-RHW             ECF No. 1105        filed 12/07/16      PageID.3757 Page 1 of 2
 PROB 12C                                                                           Report Date: December 6, 2016
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher Scott Bouck                  Case Number: 0980 2:13CR00096-RHW-6
 Address of Offender: 225 W. Broadway Ave, Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: February 6, 2014
 Original Offense:           Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:          Prison 24 months               Type of Supervision: Supervised Release
                             TSR - 36 months

 Revocation Sentence:        Prison 30 days
 Date: June 22, 2016         TSR - 36 months


 Asst. U.S. Attorney:        Timothy John Ohms              Date Supervision Commenced: June 30, 2016
 Defense Attorney:           Daniel Noah Rubin              Date Supervision Expires: March 18, 2019


                                         PETITIONING THE COURT

                To incorporate the violations contained in this petition in future proceedings with the
violations previously reported to the Court on 07/06/2016 and ISSUE A WARRANT.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            6           Special Condition # 20: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                        Washington, by using methamphetamine. The undersigned officer received a phone call
                        from the director of the Spokane Residential Reentry Center (RRC). The director advised
                        Mr. Bouck submitted to a urinalysis test on November 29, 2016. The urine sample was
                        positive for methamphetamine.
            7           Special Condition # 23: The defendant shall reside in a residential reentry center (RRC) for
                        a period of up to 180 days at the direction of the supervising officer. The defendant’s
                        participation in the programs offered by the RRC is limited to employment, education,
    Case 2:13-cr-00096-RHW           ECF No. 1105        filed 12/07/16       PageID.3758 Page 2 of 2
Prob12C
Re: Bouck, Christopher Scott
December 6, 2016
Page 2

                     treatment, and religious services at the direction of the supervising officer. The defendant
                     shall abide by the rules and requirements of the facility.

                     Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                     Washington, for being terminated from the RRC on December 6, 2016. The undersigned
                     officer was contacted by the director of the RRC advising that Mr. Bouck was being
                     terminated from the program due to a positive urine test for methamphetamine.



                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     December 6, 2016
                                                                           s/Corey M McCain
                                                                           Corey M McCain
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                           Signature of Judicial Officer
                                                                                December 7, 2016

                                                                           Date
